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                                   3                                 UNITED STATES DISTRICT COURT

                                   4                             NORTHERN DISTRICT OF CALIFORNIA

                                   5                                         SAN JOSE DIVISION

                                   6

                                   7     TIARA N. JOHNSON,                                 Case No. 22-cv-05691-BLF
                                   8                    Plaintiff,
                                                                                           ORDER DISMISSING DEFENDANT
                                   9             v.                                        JOHN DOE FOR LACK OF SERVICE
                                                                                           OF PROCESS
                                  10     META PLATFORMS, INC. and JOHN
                                         DOE,
                                  11
                                                        Defendants.
                                  12
Northern District of California
 United States District Court




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                                  14          On June 5, 2023, the Court issued an Order to Show Cause why Defendant John Doe
                                  15   should not be dismissed for failure to effect service of process within 90 days as required by
                                  16   Federal Rule of Civil Procedure 4(m). See OSC, ECF 56. Johnson has not responded to the Order
                                  17   to Show Cause and the time to do so has expired.
                                  18          Accordingly, John Doe is DISMISSED from this case for lack of service of process.
                                  19          IT IS SO ORDERED.
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                                  21   Dated: August 4, 2023
                                  22                                                   ______________________________________
                                                                                       BETH LABSON FREEMAN
                                  23                                                   United States District Judge
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